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                                 UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                         FORT WORTH DIVISION
-----------------------------------------------------------x
                                                           :
X CORP., a Nevada corporation,                             :
                                                           :
                           Plaintiff,                      :
                                                           :
         v.                                                :
                                                             Case No. 4:23-CV-1175 (RCO)
                                                           :
MEDIA MATTERS FOR AMERICA, a
                                                           :
Washington, D.C. non-profit corporation, and
                                                           :
ERIC HANANOKI,
                                                           :
                           Defendants.                     :
                                                           :
                                                           :
                                                           :
-----------------------------------------------------------x


           STIPULATION AND [PROPOSED] ORDER FOR THE EXTENSION OF
                       TIME TO RESPOND TO COMPLAINT


       WHEREAS, Plaintiff X Corp. filed a summons and complaint (collectively, the

“Complaint”) in the above-captioned matter on November 20, 2023, naming as defendants

Media Matters for America and Eric Hananoki (collectively, “Defendants”);

       WHEREAS, Plaintiff has served the Complaint on Defendants;

       WHEREAS, Defendants’ deadline for responding to the Complaint is currently January

2, 2024;

       WHEREAS, the parties have mutually agreed to an extension of Defendants’ deadline to

respond to the Complaint to and including February 6, 2024;

       WHEREAS, this is Defendants’ first request to extend the time to move, answer, or

otherwise respond to the Complaint; and

       WHEREAS, Defendants reserve all objections to the Complaint and waive none;
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       NOW THEREFORE, it is hereby stipulated and agreed, subject to the approval of the

Court, that Defendants have until and including February 6, 2024 to move, answer, or otherwise

respond to the Complaint in the above-captioned matter.

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                                        America & Eric Hananoki




SO ORDERED:

     Dated: __________                    __________________________________
                                                The Honorable Reed C. O’Connor
                                                United States District Court Judge




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